UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

DIVISION

K.C. Hopps, LTD.

 

Action Number

4:20-CV-437

vs.

The Cincinnaii Insurance Company

 

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= offored & admitted wlio objection Lea = admitted for limited purposes

= offered, but objected to and oxcludoad x = offered & admitted over objaction

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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WD = orreres then withdrawn
Exnioie Action
Number __| Takon | Dato Time Description
301 itd 1012712) | St 16 Cincinnati Insurance Policy
302 Blue Moose, LC 2019 tax returns
303 Blue Moose, LC 2020 tax returns
304 KC Hopps, Ltd. 2019 Form 8879 & tax returns
305 KC Hopps, Ltd 2020 Form 8879 and tax returns
306 O'Dowd's, LLC 2019 tax retums
307 ; O'Dowd's, LLC 2020 tax returns
308 South East KC Restaurant Co., LLC 2019 tax returns
309 South East KC Restaurant Co., LLC 2020 tax returns
310 Notice of PPP Forgiveness Payment for Arena Promotions, LLC
311 Notice of PPP Forgiveness Payment for Barley's Brewhaus, LLC
312 Notice of PPP Forgiveness Payment for Barley's, LTD
313 Notice of PPP Forgiveness Payment for Briarcliff Events, LLC
314 Notice of PPP Forgiveness for Hopps Catering, LLC
Poge #__ CERTIFY cnat I nave tnis date received from the Cterk, U.S. Distrier Court, Weatern Disteict of Missourt, the

following numbered exhibits far which I wan naie mysclf rasponsibla,

Name

 

 

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EXHIBIT INDEX Pane #2
Exchinte Action
Number _| Taken Date Time Doscripuion

315 Notice of PPP Forgiveness Payment for O'Dowd's, LLC
316 Notice of PPP Forgiveness Payment for Pan Fried 2, LLC
317 Notice of PPP Forgiveness Payment for South East KC Restaurant Co., LLC
318 Notice of PPP Forgiveness Payment for Falcon Ridge Restaurant, LLC
319 Notice of PPP Forgiveness Payment for Hopps Management Co., LLC
320 PPP Application Forms for Arena Promotions, LLC
321 PPP Application Forms for Barley's Brewhaus, LLC
322 PPP Application Forms for Barley's Ltd
323 PPP Application Forms for Blue Moose, LC
324 PPP Application Forms for Briarcliff Events, LLC
325 PPP Application Forms for Falcon Ridge Restaurant, LLC
326 PPP Application Forms for Hopps Catering, LLC
327 PPP Application Forms for Hopps Management, LLC
328 PPP Application Forms for O'Dowd's LLC
329 PPP Application Forms for Pan Fried 2, LLC
330 PPP Application Forms for South East KC Restaurant Co., LLC
331 | Ltd jioiztig|S‘iu First Amended Complaint and Demand for Jury Trial
332 - United States Executive Order introduced as Exhibit 5 in the deposition of Ed Nelson
333 Kansas Executive Orders introduced as Exhibit 5 in the deposition of Ed Nelson
334 Johnson County, KS Orders introduced as Exhibit 5 in the deposition of Ed Nelson
335 Missouri Executive Orders introduced as Exhibit 5 in the deposition of Ed Nelson
336 Jackson County, MO Executive Orders introduced as Exhibit 5 in the deposition of Ed Nelson
337 Kansas City, MO Orders introduced as Exhibit 5 in the deposition of Ed Nelson
338 |lid S:\, | Plaintiffs Answers and Objections to Defendant's Interrogatories
339 Restaurant Signage
340 Acord Property Loss notice dated March 24, 2020
341 Letter from Ryan Clark to KC Hopps dated April 1, 2020
342 Letter from Neil Jones to KC Hopps dated May 15, 2020
343 Emails from Karen Lore to Douglas Tuke dated January 24, 2020
344 Emails from JR Reilly to Douglas Tuke dated December 3, 2019
345 Emails from Bobbie Genail to Darrin Lygrisse dated April 20, 2020

 

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Case number: 3
EXHIBIT INDEX Page #
Exrunie Action
Number _| Taken Date Time Description
346 Letter from Cincinnati to KC Hopps dated August 7, 2020
347 L } d 1ojz7 2) S . ) b Petition in State of MO, ex ret O’'Dowd's , LLC d/b/a Gastrobar v. Quinton Lucas in his official capacity as Mayor of KC
348 - : Pyxis Group memo dated March 16, 2021
349 Pyxis Group memo dated March 18, 2021
350 Emails from JR Reilly to Karen Lore dated December 8, 2020
351 KC Hopps insurance packet prepared by The Reilly Company
352 Email from JR Reilly to Ed Nelson dated March 11, 2020
353 Emails between JR Reilly and Kent Ravencraft dated May 5, 2020
354 Email from JR Reilly to Karen Lore dated October 31, 2020
355 Emails from JR Reilly to Karen Lore dated November 29, 2020
356 JR Reilly Spreadsheet .
357 KC Hopps, LTD Business Income Worksheet Actual Loss Sustained Coverage
358 Email from JR Reilly to Tammy Wagner dated June 20, 2020
359 Letter from Cincinnati to KC Hopps, Ltd. dated June 29, 2020
360 Emails from JR Reilly to Ryan Clark dated June 30, 2020
361 Emails from JR Reilly to Ryan Clark dated August 25, 2020
362 Emails from JR Reilly to Tammy Wagner dated March 24, 2020
363 Emails from JR Reilly to Karen Lore dated March 31, 2020 —
364 ae 10)271/2H 11-35 February 11, 2021 Invoice of Kevin Grudzien/Pyxis Group
365 ‘ “ 3G March 10, 2021 Invoice of Kevin Grudzien/Pyxis Group
366 v {\: 37 April 9, 2021 Invoice of Kevin Grudzien/Pyxis Group
367 S ce |}|*3Q | December 3, 2020 Letter from Kevin Grudzien to Patrick Stueve
368 Kevin Grudzien Notes
369 Pyxis Group Memo re: Non-continuing Expenses
370 Pyxis Group Memo re: 1/8/2021 call/meeting
371 Pyxis Group Memo re: 3/16/2021 call/meeting
372 Pyxis Group Memo re: 3/18/2021 call/meeting
373 Kevin Grudzien LinkedIn post dated May 20, 2021
374 |Lid  jiaiz7 [zy S “1 to Arena Promotions Balance Sheet
375 Lid at tt |Cares Act Small Business Grant Program Overhead Spreadsheets
376 itd tt ce Barleys - Midland Balance Sheet

 

 

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377 Lhd |iolz7zi|S:)u Blue Moose - Falcon Ridge Balance Sheet
378 Lid vt tt Blue Moose - Prairie Village Balance Sheet
379 lid | tt et Blue Moose - Red Bridge Balance Sheet |
380 | Lid | iu u Briarcliff Events Balance Sheet
381 Lidl an ot Hopps Catering Balance Sheet
382 / hojztlaliz'24 Hopps Management Balance Sheet
383 L. 10)Z-Yal| S41 O'Dowd's Plaza Balance Sheet
384 Ltd ee rt Strouds - 135th Balance Sheet
385 Expert bill of Alexander Klibanov
386 Transcript of deposition of Alexander Klibanov
387 Transcript of deposition of Chad Dowdy
388 Transcript of deposition of Darrin Lygrisse
389 [itd |\dzb\all 1:00 Transcript of deposition of Ed Nelson
390 Transcript of deposition of J.R. Reilly
391 Transcript of deposition of Kevin Grudzien
392 | Lid Jiolzals*n Transcript of deposition of Kevin O'Brien
393 Transcript of deposition of Laura De Kam
394 Transcript of deposition of Marc Goodman with Exhibits dated 6/1/21
395 Lid 10/2711 S°0) Expert reports of David Schlader dated 4/30/21 and 5/26/21
396 Expert report of Keith Armitage, M.D.
397 Claim notes labeled CIC000001-18
398 Correspondence from Cincinnati to KC Hopps dated May 15, 2020 labeled CIC000061-88
399 Correspondence from Cincinnati to KC Hopps dated April10, 2020 labeled CIC000069
400 Correspondence from Cincinnati to KC Hopps dated April 1, 2020 labeled CIC000093-101
401 Emails between Cincinnati and KC Hopps labeled REI 896-898
402 Dr. Wayne Thomann Deposition Exhibit 1 (Report)
403 J |rosetjal 3-24 Dr. Wayne Thomann Deposition Exhibit 2 (CV)
404 Lid liolz7ia| 5‘o) Supplemental Expert Report of David Schlader
40s [Ltd lwzyals:o) |Atera Letter Macch 15,202)

 

 

 

 

 

 

 

 

 

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